Case 2:97-cr-20234-.]PI\/| Document 112 Filed 09/02/05 Page 1 of 2 Page|D 82

IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION

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UNITED STATES OF AMERICA,
Plaintiff,

`V'.

EDDIE D. JETER,

Defendant.

Nos.

97-20234
97-20235
97-20236
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97-20441

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ORDER GRANTING EXTENSION OF TIME TO SURRENDER

 

Before the Court is the Defendant's motion to continue his

surrender date (Defendant's current surrender date is September

6, 2005), filed September 2, 2005.

The Defendant requests an

additional thirty 130) days in order to continue his recovery

from a recent heart catherization and to determine if additional

heart surgery and possible eye surgery will be necessary.

The Defendant’s motion is hereby GRANTED.

IT IS SO ORDERED THIS 52 DAY OF September, 2005.

This document entered on the docket sheet in §omp|iance
with mile 55 ana/or az{b) FRCrF on 40 'DJ

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J

P. MCCALLA
ITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 112 in
case 2:97-CR-20234 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

